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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

                          ORDER OF THE EXECUTIVE COMMITTEE



        The Honorable Robert M. Dow Jr. has been appointed Counselor to the Chief Justice of
the United States. As he takes on these responsibilities, the court will at this time reassign a
portion of his civil and criminal cases.

        IT IS HEREBY ORDERED That the cases on the attached list are to be reassigned to the
other judges of this Court as indicated, pursuant to Local Rule 40.1(f).




                                        ENTER:
                             FOR THE EXECUTIVE COMMITTEE



                         ____________________________________
                           Hon. Rebecca R. Pallmeyer, Chief Judge


Dated at Chicago, Illinois this 11th day of October, 2022




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Civil Cases Reassigned from Judge Dow to Judge Alonso

1:14-cv-03385                  U.S. Equal Employment Opportunity Commission v.
                               Autozone, Inc.
1:17-cv-09011                  Consolino et al v. Dart, et al
1:19-cv-01431                  Williams v. Kennedy et al
1:20-cv-07659                  Cruz v. State of Illinois
       1:20-cv-07767           Cruz v. State of Illinois et al
1:21-cv-00843                  Tantaro v. Highland Park CVS, LLC
1:21-cv-04324                  Rossetti et al v. Saban et al
1:22-cv-01900                  Brown v. TransUnion, LLC et al
1:22-cv-02247                  Bella Cosa Inc. v. Good Goods LLC et al
1:22-cv-02347                  Petrochoice LLC v. Amherdt
1:22-cv-02603                  Gordon v. People Of The State Of Illinois et al


Civil Cases Reassigned from Judge Dow to Judge Aspen

1:19-cv-06154                  Lipinski v. Chavez et al
1:21-cv-04231                  Walker v. Administrator of the Estate of Former Chicago
                               Police Department Commander Jon Burge et al
1:22-cv-01895                  Miranda v. Antle et al
1:22-cv-02869                  Samaali v. Dunkin Doughnuts
1:22-cv-03290                  Spencer v. The Village of Westmont et al

Civil Cases Reassigned from Judge Dow to Judge Blakey

1:19-cv-02778                  Rosas v. Board of Education of the City of Chicago, et al
1:19-cv-05555                  Canna et al v. Canna et al
1:20-cv-00849                  Solvay USA, Inc. v. Cutting Edge Fabrication, Inc.
1:21-cv-00825                  Honeywell International, Inc. v. Gomez et al
1:21-cv-01116                  Horan v. Ford Motor Company
1:21-cv-02703                  Mohammed v. Citigroup Inc. et al
1:21-cv-04798                  Giles v. Chicago et al
1:21-cv-06424                  Brushaber v. Nu-Way Industries, Inc.
1:22-cv-01318                  Steele v. 4Management, Inc. et al
1:21-cv-04636                  Johnson v. Cook County Jail et al
       1:22-cv-01956           Johnson et al v. Cook County Jail Department of
                               Corrections et al
      1:22-cv-02794            Johnson v. Cook County et al
      1:22-cv-03362            Johnson v. Wray

Civil Cases Reassigned from Judge Dow to Judge Bucklo

1:19-cv-01339                  Hedick v. Kraft Heinz Company et al
       1:19-cv-01845           Iron Workers District Council (Philadelphia and Vicinity)
                               Retirement and Pension Plan v. Kraft Heinz Company, The
                               et al
      1:19-cv-02807            Timber Hill LLC v. The Kraft Heinz Company et al

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      1:20-cv-01970            City of Hollywood Police Officers' Retirement System v.
                               The Kraft Heinz Company et al
       1:20-cv-02071           Merritts v. 3G Capital, Inc. et al
       1:20-cv-02257           Silverman et al v. Behring et al
       1:20-cv-02259           In Re: Kraft Heinz Shareholder Derivative Litigation
       1:20-cv-02280           Hill v. Abel et al
1:19-cv-06917                  Federal Deposit Insurance Corporation v. Patel
1:20-cv-00231                  Johnson v. Takeda Pharmaceuticals U.S.A., Inc. et al
1:20-cv-01353                  Pierce v. Great Lakes Dredge & Dock Company, LLC
1:20-cv-02258                  Green v. Behring et al
1:21-cv-01716                  Willis v. Universal Intermodal Services, Inc.
1:21-cv-04210                  Doescher v. Waste Management of Illinois, Inc. et al
1:21-cv-05816                  Earle v. Community Loan Servicing, LLC et al
1:22-cv-00511                  The Louge Development Company, LLC v. Landmark
                               American Insurance Company


Civil Cases Reassigned from Judge Dow to Judge Chang

1:19-cv-03052                  DOE, v. Township High School District No. 214
1:19-cv-04234                  Krafcky v. Freud America, Inc. et al
1:20-cv-07612                  Cenanovic v. Hamdard Center for Health and Human
                               Services
1:21-cv-02253                  Patel v. YRC, Inc. et al
1:21-cv-05968                  Garcia v. Target Corporation
1:22-cv-00270                  Bruessard v. AT&T Corp.
1:22-cv-01766                  Guijosa v. A Warehouse on Wheels, Inc. et al
1:22-cv-01972                  Ocampo v. Harris et al
1:22-cv-02329                  Steadfast Insurance Company v. ICL Group Ltd. et al
1:22-cv-03233                  Dayley v. Baltria Corporation
1:22-cv-03167                  Central States, Southeast and Southwest Areas Pension
                               Fund et al v. Stanley

Civil Cases Reassigned from Judge Dow to Judge Coleman

1:16-cv-00014                  Daniels v. Wexford Health Sources, Inc. et al
1:19-cv-08119                  Shelton v. Calloway
1:20-cv-05227                  Securities and Exchange Commission v. Fife et al
1:20-cv-05754                  Chitwood, Sr. v. Takeda Pharmaceuticals U.S.A. Inc. et al
1:21-cv-00302                  Joyner v. Balas et al
1:21-cv-03081                  Lacy v. Maywood Police Department et al
1:21-cv-03678                  Murphy v. Paul Reilly Co. Illinois, Inc. et al
1:21-cv-04055                  Gao v. Partnerships and Unincorporated Associations
                               Identified on Schedule "A", The
1:21-cv-04267                  Shumaker v. Lyft, Inc. et al
1:21-cv-06123                  HWP Holdings LLC et al v. Anderson et al
1:22-cv-00583                  Doe v. Board of Education of The City of Chicago A
                               Municipal Corporation




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Civil Cases Reassigned from Judge Dow to Judge Durkin

1:15-cv-06902                   Starr Indemnity & Liability Company et al v. YRC, Inc.
1:17-cv-05409                   Cavelle v. Chicago Transit Authority et al
1:18-cv-05117                   Gaines v. Cook County DOC et al
1:19-cv-01319                   In re the Seizure of $115,050.00 in U.S. Currency and
                                miscellaneous property v. USA et al
1:20-cv-01145                   McGowan v. Integrated Pain Management, S.C. et al
1:20-cv-07260                   Lara v. West Loop Maid et al
1:21-cv-01325                   Ftex Food & Liquor, Inc. et al v. United States of America
1:21-cv-02538                   Pryzczv . Willowbrook Ford, Inc.. et al
1:22-cv-00301                   SMART Local 265 Welfare Fund et al v. MJ Mechanical,
                                LLC
1:22-cv-01984                   Central States, Southeast and Southwest Areas Health
                                and Welfare Fund, et al v. Powell et al
1:22-cv-02177                   Wereko v. Rosen et al


Civil Cases Reassigned from Judge Dow to Judge Ellis

1:16-cv-10783                   Sabet v. City of North Chicago Illinois et al
1:18-cv-03947                   Ledesma v. Marriott International, Inc. et al
1:19-cv-05669                   Unum Life Insurance Company of America v. Zondlo, et al
1:20-cv-01518                   Polick v. A2B Express, LLC et al
1:20-cv-05308                   UL LLC v. 7111495 Canada Inc. et al
1:21-cv-04335                   Hoffstead v. Northeast Illinois Regional Commuter Railroad
                                Corporation d/b/a Metra
1:21-cv-05259                   Stone v. Action Property Services LLC, an Illinois Limited
                                Liability Company et al
1:21-cv-05463                   Morton v. Dart et al
       1:21-cv-03608            Morton v. Dart et al
1:22-cv-02943                   American Family Mutual Insurance Company, SI, as
                                subrogee of Sung Soo Kim v. Cardinal Glass Industries,
                                Inc. et al
1:22-cv-03061                   Johnson et al v. NCR Corporation
1:22-cv-03079                   Gonzalez v. Panek Precision Products, Co.

Civil Cases Reassigned from Judge Dow to Judge Gettleman

1:18-cv-02229                   Henigan v. Blanton et al
1:19-cv-05684                   Sgariglia v. American International Relocation Services,
                                LLC, et al
1:19-cv-08145                   R. v. Board Of Education Of The City Of Chicago et al
1:20-cv-04579                   Brown et al v. CACH, LLC et al
1:21-cv-01454                   Nicoletti v. Jones Lang Lasalle Americas, Inc.
1:21-cv-03001                   Powell v. DePaul University
1:21-cv-06869                   Marquez et al v. Personnel Staffing Group, LLC
1:22-cv-00474                   Wells Fargo Bank, N.A. v. Smith & Company, Inc.
1:22-cv-02306                   Mouw et al v. Shelter Mutual Insurance Company
1:22-cv-02882                   Drawn to Discover et al v. Halperin et al
1:22-cv-03004                   Walker v. Department of Human Services et al

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Civil Cases Reassigned from Judge Dow to Judge Gottschall

1:19-cv-03945                   Saud v. DePaul University et al
1:20-cv-04046                   Ferguson et al v. Cook County, Illinois, et al
1:22-cv-02604                   XYZ Corp vs Partnerships and Unincorporated
                                Associations Identified on Schedule A, The
1:22-cv-02577                   Rojas v. Owner of website dustfreetoday.com

Civil Cases Reassigned from Judge Dow to Judge Guzman

1:18-cv-02983                   Epps v. Patriquin et al
1:18-cv-03399                   Access Living of Metropolitan Chicago v. City Of Chicago
1:19-cv-06269                   U.S. Securities and Exchange Commission v. Feiner et al
1:21-cv-06000                   Thomas v. Ford Motor Company

Civil Cases Reassigned from Judge Dow to Judge Kendall

1:15-cv-03125                   Shultz v. Landi et al
1:17-cv-04011                   United States of America v. Aniemeka et al
1:18-cv-06387                   Twin City Fire Insurance Company v. Law Offices of John
                                S. Xydakis, P.C.,
1:19-cv-08298                   Herrera v. Di Meo Brothers, Inc. et al
1:20-cv-01997                   Hankle-Sample v. City of Chicago, The
1:20-cv-07437                   Williams v. Howard et al
1:20-cv-07487                   Reese v. Delitz et al
       1:20-cv-07488            Reese v. Dart et al
1:21-cv-04336                   Ibanez v. Hines Interests Limited Partnership et al
1:21-cv-05793                   Thomas v. Givaudan Flavors Corporation
1:22-cv-02964                   Miller v. City of Aurora
1:22-cv-03177                   Benes v. Cenlar FSB

Civil Cases Reassigned from Judge Dow to Judge Kennelly

1:15-cv-10490                   Malas v. Hinsdale Township District #86
1:16-cv-00748                   McKeown v. Sun Life Assurance Company of Canada
1:19-cv-01402                   Mason et al v. City of Wheaton Police Dept et al
1:19-cv-06805                   Midwest Operating Engineers Welfare Fund et al v. Abari
                                Construction, Inc.
1:20-cv-02768                   Stewart v. Takeda Pharmaceutical Company Limited et al
1:21-cv-01745                   Anglin v. Walmart Inc. et al
1:21-cv-05931                   SMS Financial Recovery Services, LLC v. Canzoneri et al
1:22-cv-00005                   McNamara v. Glen Ellyn School District #41
1:22-cv-00324                   Philadelphia Indemnity Insurance Company v. Wisconsin
                                Central Ltd.
1:22-cv-01863                   Lawse v. American River Transportation Co., LLC
1:22-cv-03051                   Plumbers' Pension Fund, Local 130, U.A. et al v. PJ Fazio
                                Plumbing & Heating, Inc. et al

Civil Cases Reassigned from Judge Dow to Judge Kness

1:20-cv-03919                   Animal Welfare League v. Village Of Chicago Ridge et al

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1:20-cv-05781                  Pickering v. Wexford Health Sources, Inc et al
1:21-cv-01267                  Simoni v. United Airlines, Inc. et al
1:21-cv-03588                  4Discovery, LLC v. Marriot International, Inc.
1:21-cv-06921                  Amira Powe v. Dermalogica, LLC
1:22-cv-00013                  Carpenter v. CCDOC Cook County Jail et al
1:22-cv-00399                  Wescott v. First American Financial Corporation et al
1:22-cv-01837                  Tareq v. Majorkas et al
1:22-cv-02288                  Mitchell et al v. Ms. English
1:22-cv-02996                  Advanced Physical Medicine of Yorkville, Ltd. v. United
                               States Office of Personnel Management Healthcare and
                               Insurance

Civil Cases Reassigned from Judge Dow to Judge Kocoras

1:10-cv-04257                  Second Amendment Arms et al v. City of Chicago, et al
1:19-cv-06082                  Teamsters Local Union No. 72t et al., v. De La Torre
                               Funeral Home & Cremation Services, Inc.
1:20-cv-00327                  Campbell v. Takeda Pharmaceutical Company, Ltd. et al
1:20-cv-06903                  Trustees of the Glaziers Architectural Metal and Glass
                               Workers Local Union No. 27 Welfare and Pension Funds v.
                               Euro Architectural Products, Inc. et al
1:21-cv-01693                  Odlyzko v. Rosenthal et al
1:22-cv-03201                  Wang v. The Partnerships and Unincorporated
                               Associations Identified on Schedule "A"
1:22-cv-00808                  Szymczyk v. Guillen
1:22-cv-00840                  Steele v. Edward Hospital et al
1:22-cv-01756                  Cortes-Rangel v. Schindler Elevator Corporation
1:22-cv-01937                  Winking et al v. Smithfield Fresh Meats Corp. et al
1:22-cv-02531                  Williams et al v. Linerock Investments, LTD et al

Civil Cases Reassigned from Judge Dow to Judge Lefkow

1:18-cv-03780                  Copeland v. Johnson et al
1:21-cv-00909                  Chicago Regional Council of Carpenters Pension Fund et
                               al v. Modern Builders Contractors, Inc.
1:21-cv-04631                  Soto v. U.S. DEPARTMENT OF HOMELAND SECURITY,
                               a federal agency et al
1:22-cv-00401                  Leffler v. Ann & Robert H. Lurie Children's Hospital of
                               Chicago
1:22-cv-01066                  Roland v. U.S. Department of Justice

Civil Cases Reassigned from Judge Dow to Judge Leinenweber

1:20-cv-05689                  Elliot v. Reynolds Metals Company, LLC
1:21-cv-00066                  Hawthorne v. Brennan
1:21-cv-04543                  DeKasha k v. Shemsiu, et al
1:22-cv-00063                  Adkisson et al v. Eagleson et al
1:22-cv-01063                  Harris v. FSST Management Services, LLC et al




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Civil Cases Reassigned from Judge Dow to Judge Maldonado

1:20-cv-00755                   Williams v. Wolf
1:20-cv-03112                   Petties v. McGruder et al
1:21-cv-03084                   Venticinque v. City of Chicago Department of Aviation
1:21-cv-04350                   Hicks et al v. P.O. Jenkins #8917
1:21-cv-04369                   Spin Master Ltd. et al v. The Partnerships and
                                Unincorporated Associations Identified on Schedule "A"
1:21-cv-04770                   Royal v. Dart et al
1:21-cv-05021                   Lehocky v. Transamerica Life Insurance Company
1:21-cv-06298                   Bahena v. Aahil Corporation d/b/a Subway et al
1:22-cv-01127                   Cole v. Wray
1:22-cv-01653                   Conrad et al v. SavATree, LLC
1:22-cv-02480                   Coss et al v. Snap Inc.

Civil Cases Reassigned from Judge Dow to Judge Pacold

1:13-cv-01194                   Graziosi v. Accretive Health, Inc. et al
1:17-cv-01430                   Starr Indemnity & Liability Company v. Cook County,
                                Illinois et al.
1:18-cv-04994                   Love v. Chicago Public Schools
1:20-cv-03095                   Brunke v. Integramed America, Inc. et al
1:20-cv-03648                   Hall v. Division 6 Health Care Cermak et al
1:21-cv-04397                   AAEON Electronics, Inc. v. NEC Display Solutions of
                                America, Inc.
1:21-cv-06224                   Bailey v. Chime Financial, Inc.
1:22-cv-00166                   Pendleton v. Walmart Inc.
1:22-cv-00650                   Surratt v. CVS Pharmacy, Inc.
1:22-cv-00700                   Archer v. UnitedHealthcare Services Incorporated et al
1:22-cv-02890                   Smith v. Lake County Jail, et al

Civil Cases Reassigned from Judge Dow to Chief Judge Pallmeyer

1:17-cv-06260                   State Of Illinois v. City Of Chicago
1:21-cv-03360                   Hubert v. Oswego Junction Enterprises LLC d/b/a
                                Prohibition Junction Sports Bar & Grill
1:21-cv-05864                   Love et al v. Carrington Mortgage Services, LLC et al
1:22-cv-00888                   Shipp v. Gomez et al

Civil Cases Reassigned from Judge Dow to Judge Rowland

1:15-cv-06869                   Coe v. Atkins, et al.
1:18-cv-01136                   Human Rights Defense Center v. Baldwin et al
       1:18-cv-06986            Black & Pink v. Baldwin et al
1:19-cv-01575                   Lenoir v. Little Caesar Enterprises, Inc.
1:21-cv-00512                   Clifford v. Illinois State Police et al
1:21-cv-04726                   Kyes v. Achim, M.D.
1:21-cv-06067                   Daley et al v. Nudo et al
1:21-cv-06673                   Thomas v. Gomze et al
1:22-cv-01820                   Alholm v. Vrdolyak Law Group


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1:22-cv-02477                     Bala Bangles, Inc. v. The Entities and Individuals Identified
                                  in Annex A
1:22-cv-02771                     Riley, et al v. Schick et al

Civil Cases Reassigned from Judge Dow to Judge Seeger

1:17-cv-03297                     Willis v. Williams et al
       1:18-cv-00333              Willis v. Pfister et al
1:18-cv-03274                     Nicholson v. Lewis
1:19-cv-07152                     Components for Industry, And Others, Inc. v. Auto Kabel
                                  North America, Inc.
1:20-cv-03218                     McCollum v. Miles et al
1:20-cv-05524                     Saiyed v. Swedish Convenant Hospital et al
1:21-cv-03615                     Philips North America LLC et al v. Global Medical Imaging,
                                  LLC et al
1:21-cv-03848                     Porch v. University of Illinois College of Medicine
1:22-cv-00160                     Haymarket DuPage, LLC v. Village of Itasca et al
1:22-cv-00649                     Matthews v. Polar Corp.
1:22-cv-02238                     Rojas v. John Doe Inc.
1:22-cv-02776                     Sparks v. Mitchell

Civil Cases Reassigned from Judge Dow to Judge Shah
1:13-cv-06444                   Bowan v. Harrington
1:15-cv-10573                   Johnson v. Wexford Health Sources, Inc. et al
1:19-cv-02211                   Coleman v. Brown et al
1:20-cv-02072                   Waters v. Behring et al
1:20-cv-05755                   Alcaraz v. Tanner et al
       1:22-cv-03270            Alcaraz v. Gomez et al
1:21-cv-02408                   Atkins v. Healthcare Revenue Recovery Group LLC
1:21-cv-03479                   Burke v. Thomas Dart, Cook County Sheriff et al
1:21-cv-05656                   Murphy v. Bertrand Cole and Associates, Ltd., d/b/a
                                Hinsdale Fine Jewelry Company et al
1:22-cv-01119                   Bradford v. Grieco
1:22-cv-01479                   Campbell v. Freeedom Mortgage Corporation
1:22-cv-03076                   Hooper v. County of Will, et al

Civil Cases Reassigned from Judge Dow to Judge Tharp

1:17-cv-06145                     Del Prete v. Village of Romeoville, Illinois et al
1:18-cv-02523                     Amor v. Cross et al
1:19-cv-03277                     Crews v. Martinez et al
1:20-cv-00149                     Legghette v. Chicago Police Department et al
1:20-cv-07495                     Smith v. Hampton et al
1:20-cv-07711                     Millings et al v. Transdev North America, Inc.
1:21-cv-03466                     Deemar v. Boad of Educaton of the City of
                                  Evanston/Skokie District 65 et al
1:21-cv-04653                     Mayo v. Dart et al
       1:21-cv-05014              Mayo v. Dart et al
1:21-cv-06395                     Hoffman v. United Airlines, Inc. et al
1:22-cv-01419                     Strickland v. City Of Markham et al


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1:22-cv-03100                  Fox Valley Laborers Health and Welfare Fund et al v. MJ
                               Trackworks, Inc.

Civil Cases Reassigned from Judge Dow to Judge Valderrama

1:13-cv-04531                  Perez v. City of Chicago, et al.
1:18-cv-06632                  Molina v. Latronico et al
1:20-cv-01046                  Bertha v. Kane County et al
1:20-cv-04267                  Marquez et al v. BHC Streamwood Hospital, Inc.
1:20-cv-04793                  Felix v. Roosevelt University
1:21-cv-02045                  Watkins v. Mohan et al
1:21-cv-02581                  Jeffries v. Silva et al
1:21-cv-04962                  Ingram v. Pfister et al
1:22-cv-00230                  Kim v. FNS, Inc et al
1:22-cv-01999                  Tyson v. Williams et al
1:22-cv-03323                  Rd Expedited, Inc v. Wesco Insurance Company

Civil Cases Reassigned from Judge Dow to Judge Wood

1:13-cv-01068                  Dobbey et al v. Weilding et al
       1:13-cv-05037           Dobbey v. Carter
       1:21-cv-03762           Dobbey v. Taylor
1:18-cv-01707                  Waconia Dodge, Inc. v. CDK Global, LLC et al
1:19-cv-00030                  Lee v. State of Illinois, Illinois Attorney General et al
1:19-cv-07928                  Balder et al v. Meeder et al
1:20-cv-06500                  Johnson v Dart, et al
1:21-cv-01331                  Sartin v. Union Pacific Railroad Company
1:21-cv-01815                  David v. Takeda Pharmaceutical Co. Ltd
1:21-cv-02347                  Williams v. Metra Police Department et al
1:21-cv-05717                  Anderson v. Illinois Department of Treasurer
1:22-cv-01244                  Florida State University, et. al. v. The Individuals,
                               Corporations, Limited Liability
1:22-cv-01885                  Dear v. Life Insurance Company of North America

Criminal Cases Reassigned from Judge Dow to Judge Alonso

1:18-cr-00448                  USA v. Sanders
1:20-cr-00409                  USA v. Robinson
1:22-cr-00309                  USA v. Green

Criminal Cases Reassigned from Judge Dow to Judge Blakey

1:19-cr-00191                  USA v. Luster, et al.
1:22-cr-00085                  USA v. Summers

Criminal Cases Reassigned from Judge Dow to Judge Bucklo

1:20-cr-00577                  USA v. Bryant, et al.
1:20-cr-00901                  USA v. Valencia



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Criminal Cases Reassigned from Judge Dow to Judge Chang

1:14-cr-00424                   USA v. Zheng, et al.
1:19-cr-00889                   USA v. Harper, et al.
1:22-cr-00057                   USA v. Anthony Hurnes

Criminal Cases Reassigned from Judge Dow to Judge Coleman

1:19-cr-00423                   USA v. Stalka
1:21-cr-00217                   USA v. Quiggle

Criminal Cases Reassigned from Judge Dow to Judge Durkin

1:18-cr-00387                   USA v. Hawkins
1:20-cr-00391                   USA v. Clarence January, et al
1:22-cr-00181                   USA v. Rechichi

Criminal Cases Reassigned from Judge Dow to Judge Ellis

1:18-cr-00519                   USA v. Mahmood
1:19-cr-00873                   USA v. Gordon, et al.
1:20-cr-00569                   USA v. Hamilton

Criminal Cases Reassigned from Judge Dow to Judge Gettleman

1:20-cr-00830                   USA v. Harris
1:15-cr-00667                   USA v. Acosta
1:19-cr-00953                   USA v. Ingram

Criminal Cases Reassigned from Judge Dow to Judge Guzman

1:21-cr-00662                   USA v. Heise

Criminal Cases Reassigned from Judge Dow to Judge Kendall

1:18-cr-00606                   USA v. Sanchez
1:19-cr-00322                   USA v. Burke, et al.
1:21-cr-00733                   USA v. Fuentes

Criminal Cases Reassigned from Judge Dow to Judge Kennelly

1:10-cr-00376                   USA v. Zajac
1:19-cr-00692                   USA v. Nesbitt
1:21-cr-00723                   USA v. Burage

Criminal Cases Reassigned from Judge Dow to Judge Kness

1:19-cr-00619                   USA v. Armstrong
1:21-cr-00735                   USA v. Rodriguez



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Criminal Cases Reassigned from Judge Dow to Judge Lefkow

1:21-cr-00626                  USA v. Lopez

Criminal Cases Reassigned from Judge Dow to Judge Leinenweber

1:21-cr-00285                  USA v Christopher M. Williams Jr

Criminal Cases Reassigned from Judge Dow to Judge Pacold

1:17-cr-00489                  USA v. Sanchez
1:20-cr-00066                  USA v. Crowder
1:22-cr-00177                  USA v. Williams

Criminal Cases Reassigned from Judge Dow to Judge Rowland

1:18-cr-00453                  USA v. Houskin, et al.
1:19-cr-00474                  USA v. Schiff
1:20-cr-00495                  USA v. Link

Criminal Cases Reassigned from Judge Dow to Judge Seeger

1:17-cr-00157                  USA v. Fawcett
1:20-cr-00033                  USA v. Rubalcaba
1:22-cr-00165                  USA v. Kosmowski, et al.

Criminal Cases Reassigned from Judge Dow to Judge Shah

1:19-cr-00756                  USA v. Fleites
1:21-cr-00239                  USA v. Rosenbaum

Criminal Cases Reassigned from Judge Dow to Judge Tharp

1:12-cr-01004                  USA v. Madison, et al.
1:19-cr-00169                  USA v. Banks
1:20-cr-00651                  USA v. Miguel, et al.

Criminal Cases Reassigned from Judge Dow to Judge Valderrama

1:16-cr-00054                  USA v. Diamond, et al.
1:20-cr-00020                  USA v. Elonge
1:22-cr-00133                  USA v. Trujillo-Gasca

Criminal Cases Reassigned from Judge Dow to Judge Wood

1:17-cr-00797                  USA v. Lackland, et al.
1:20-cr-00299                  USA v. Browner
1:22-cr-00178                  USA v. Oliva




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